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                                                                          6                               IN THE UNITED STATES DISTRICT COURT
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                                                                                                    FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                                                         10   UNITED STATES OF AMERICA,                               No. CR 05-00167 WHA
                                                                         11
United States District Court




                                                                                             Plaintiff,
                               For the Northern District of California




                                                                         12     v.                                                    ORDER REQUIRING
                                                                         13                                                           GOVERNMENT FILING IN
                                                                              EDGAR DIAZ, RICKY ROLLINS,                              RESPONSE TO DON JOHNSON
                                                                         14   DON JOHNSON, ROBERT CALLOWAY,                           REQUEST FOR LEAVE TO FILE
                                                                              DORNELL ELLIS, EMILE FORT,                              MOTION FOR
                                                                         15   CHRISTOPHER BYES, PARIS                                 RECONSIDERATION
                                                                              RAGLAND, RONNIE CALLOWAY,
                                                                         16   ALLEN CALLOWAY, and REDACTED
                                                                              DEFENDANTS Nos. ONE & TWO,
                                                                         17                  Defendants.
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                                                                         19          The government is ORDERED TO RESPOND to defendant Don Johnson’s application for
                                                                         20   leave to file a motion for reconsideration of the Order re Motion for Reconsideration issued
                                                                         21   April 3, 2006. After the government responds, the Court will decide whether to grant
                                                                         22   permission to file a motion for reconsideration. The government response is due at NOON,
                                                                         23   FRIDAY, JUNE 9, 2006.
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                                                                         25          IT IS SO ORDERED.
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                                                                         27   Dated: June 5, 2006
                                                                         28                                                      WILLIAM ALSUP
                                                                                                                                 UNITED STATES DISTRICT JUDGE
